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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
          v.                                      )           Criminal Case No.
                                                  )           2:94cr62-MHT
RONALD LANDER                                     )

                RECOMMENDATION OF THE MAGISTRATE JUDGE

          The defendant, Ronald Lander (“Lander”), seeks to modify his federal sentence

through his “Motion for Reduction of Sentence Pursuant to Amendment 505 and 1B1.10 of

U.S.S.G.” For the following reasons, the motion is due to be denied.

                                      I. INTRODUCTION

          On November 17, 1994, following a jury trial, Lander was convicted of conspiracy

to possess with intent to distribute cocaine and cocaine base and three counts of cocaine

distribution. At his May 22, 1995, sentencing hearing, the district court sentenced him to

324 months’ imprisonment for each conviction, all sentences to run concurrently.1 On

October 1, 2007,2 Lander filed the present motion, asking the district court to “use its

discretion [to] reduce the petitioner’s current term of incarceration based on the retroactive

      1
      Lander filed a direct appeal, and on October 29, 1998, the Eleventh Circuit affirmed his
conviction and sentence. See United States v. Morrow, 156 F.3d 185 (11th Cir. 1998) (unpublished
table decision). On January 13, 2000 (Doc. No. 1342), Lander filed a motion to vacate, set aside,
or correct his sentence pursuant to 28 U.S.C. § 2255. This court denied his § 2255 motion on
December 16, 2003. (See Doc. Nos. 1639 & 1756-57.)
  2
   Although Lander’s motion was date-stamped “received” in this court on October 3, 2007, under
the “mailbox rule,” the court deems his motion filed on the date he delivered it to prison authorities
for mailing, presumptively, October 1, 2007, the day that he signed it. See Houston v. Lack, 487
U.S. 266, 271-72 (1988); Washington v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001).
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amendment 505” of the Sentencing Guidelines. (Doc. No. 1920 at 1.) For the reasons that

follow, this court concludes that Lander is not entitled to any relief.

                                         II. DISCUSSION

        Lander maintains that this court has jurisdiction to apply Amendment 505

retroactively so as to effect a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2). (Doc.

No. 1920 at 3-4.) Under § 3582(c)(2), a court may reduce a person’s sentence if the

guideline under which the person was sentenced has subsequently been lowered by the

Sentencing Commission and such a reduction is consistent with policy statements of the

Sentencing Commission.3 Amendment 505 amended the Drug Quantity Table in U.S.S.G.

§ 2D1.1(c) by, inter alia, eliminating the base offense levels of 40 and 42 and lowering the

maximum base offense level that may be based on drug quantity to 38. See U.S.S.G. app.

C, amend. 505 (2006). The Sentencing Commission’s policy statement on retroactive

reduction of sentences, U.S.S.G. § 1B1.10, indicates that Amendment 505 is retroactively

applicable. U.S.S.G. § 1B1.10(c).

        Lander asserts that the district court, when calculating his sentence, assigned him a

base offense level of 38 based on the drug quantities involved in his offense and then applied

   3
    Section 3582(c)(2) states:

        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.

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two additional points to his offense level for his firearm possession, resulting, he says, in a

“total base offense level” of 40. (Doc. No. 1920.) He argues that because his “total base

offense level” was 40, the district court should reconsider his sentence under the guidelines

as amended by Amendment 505, taking into account, among other things, his rehabilitative

efforts and his “good family ties” and community connections. (Id. at 4.) According to

Lander, were Amendment 505 to be applied, his sentencing range under the guidelines

would be lowered, authorizing this court to impose a reduced sentence.

        Lander’s argument is constructed on two faulty premises. First, Lander is incorrect

in suggesting that his base offense level was 40. The record reflects that his base offense

level – which was based on the court’s determination that 150 kilograms or more of cocaine

were attributable to him – was found to be 38.4 Lander’s total offense level was determined

to be 40 after the court enhanced his offense level by two additional points based on his

firearm possession.5 Secondly, Amendment 505, upon which Lander bases his claim for

relief, took effect on November 1, 1994. See U.S.S.G. app. C, amend. 505 (2006). Lander

was sentenced on May 22, 1995 – several months after the effective date of Amendment 505.

Consequently, Lander cannot argue that he was “sentenced to a term of imprisonment ... that

has subsequently been lowered by the Sentencing Commission.” 18 U.S.C § 3582(c)(2).

A defendant seeking a sentence modification pursuant to 18 U.S.C. § 3582(c)(2) cannot


   4
    See U.S.S.G. § 2D1.1(c)(1).
   5
     Lander erroneously conflates base offense level and total offense level when he refers to his
“total base offense level.”

                                                3
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premise his claim for a sentence reduction on a change to the guidelines made after the

defendant’s sentencing.6 See United States v. Herrera-Garcia, 422 F.3d 1202, 1203 (10th

Cir. 2005); United States v. Chavez-Salais, 337 F.3d 1170, 1173 (10th Cir. 2003).

       Because Amendment 505 did not lower the sentencing range upon which Lander’s

sentence was based and was already in effect when Lander was sentenced, the relief

requested by Lander is not afforded pursuant to 18 U.S.C. § 3582(c)(2).

                                     III. CONCLUSION

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that the motion

for a sentence reduction (Doc. No. 1920) filed by Lander be DENIED as he is not entitled

to any relief.

       It is further

       ORDERED that the parties shall file any objections to this Recommendation on or

before November 28, 2007. A party must specifically identify the findings in the

Recommendation to which objection is made; frivolous, conclusive, or general objections

will not be considered. Failure to file written objections to the Magistrate Judge’s proposed

findings and recommendations shall bar a party from a de novo determination by the District

Court of issues covered in the Recommendation and shall bar the party from attacking on

appeal factual findings accepted or adopted by the District Court except upon grounds of

plain error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982). See


  6
    There is certainly no indication that the court failed to take Amendment 505 into consideration
at Lander’s sentencing since Lander’s base offense level did not exceed 38.

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Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).

       Done this 15th day of November, 2007.



                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   CHIEF UNITED STATES MAGISTRATE JUDGE




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